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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                                        X
                                                                        :
 100 ORCHARD STREET, LLC,                                               :
                                              Plaintiff,                :
                                                                        :    20-CV-8452 (JMF)
                            -v-                                         :
                                                                        :        ORDER
 THE TRAVELERS INDEMNITY INSURANCE                                      :
 COMPANY OF AMERICA,                                                    :
                                              Defendant.                :
                                                                        :
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JESSE M. FURMAN, United States District Judge:

       On October 16, 2020, Defendant filed a motion to dismiss the complaint under Rule
12(b) of the Federal Rules of Civil Procedure. Under Rule 15(a)(1)(B), a plaintiff has twenty-
one (21) days after the service of a motion under Rule 12(b) to amend the complaint once as a
matter of course.

       Accordingly, it is hereby ORDERED that Plaintiff shall file any amended complaint by
November 6, 2020. Plaintiff will not be given any further opportunity to amend the complaint to
address issues raised by the motion to dismiss.

        If Plaintiff does amend, by three (3) weeks after the amended complaint is filed,
Defendant shall: (1) file an answer; (2) file a new motion to dismiss; or (3) file a letter on ECF
stating that it relies on the previously filed motion to dismiss. If Defendant files an answer or a
new motion to dismiss, the Court will deny the previously filed motion to dismiss as moot. If
Defendant files a new motion to dismiss, any opposition shall be filed within fourteen days, and
any reply shall be filed within seven days of any opposition.

        If no amended complaint is filed, Plaintiff shall file any opposition to the motion to
dismiss by November 6, 2020. Defendant’s reply, if any, shall be filed by November 13, 2020.
At the time any reply is served, the moving party shall supply the Court with one, double-sided
courtesy hard copy of all motion papers by mailing or delivering them to the Thurgood Marshall
United States Courthouse, 40 Centre Street, New York, New York.

       Finally, it is further ORDERED that the initial pretrial conference previously scheduled
for November 24, 2020 is adjourned sine die.

        SO ORDERED.

Dated: October 19, 2020                                    __________________________________
       New York, New York                                           JESSE M. FURMAN
                                                                  United States District Judge
